Case 1:21-cv-00612-JGK Document 14 Filed 04/21/21 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SCHEREZADE MOMIN, 21-cv-612 (dJGK)
Plaintiff, ORDER
- against -
QUANTIERRA ADVISORS, LLC, ET AL.,

Defendants.

 

JOHN G. KOELTL, District Judge:

As discussed during the teleconference held on April 21,
2021, the defendants should file their motion to dismiss by May
14, 2021. The response is due June 4, 2021 and the reply is due

June 14, 2021.

SO ORDERED.

Dated: New York, New York
April 21, 2021

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\_ >John G. Koeltl
otic States District Judge

 
